    Case: 1:20-cv-01562 Document #: 51 Filed: 07/15/20 Page 1 of 2 PageID #:1423




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

STUDIO PEYO S.A.,
                                                      Case No. 20-cv-01562
                        Plaintiff,
       v.                                             Judge Sharon Johnson Coleman

DONGGUAN AI CHENG TOYS CO., LTD, et                   Magistrate Judge Sidney I. Schenkier
al.
              Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on June 30, 2020 [49], in favor of

Plaintiff Studio Peyo S.A.'s ("Studio Peyo" or "Plaintiff') and against the Defendants Identified in

Schedule A in the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant

for willful use of counterfeit Studio Peyo Trademarks in connection with the offer for sale and/or

sale of products through at least the Online Marketplaces, and Studio Peyo acknowledges payment

of an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendant:

               Defendant Name                                          Line No.
              ZorluteksHome Store                                         25

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




                                                 1
   Case: 1:20-cv-01562 Document #: 51 Filed: 07/15/20 Page 2 of 2 PageID #:1424




Dated this 15th day of July 2020.    Respectfully submitted,

                                     /s/ Jake M. Christensen
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     Jake M. Christensen
                                     Greer, Burns & Crain, Ltd.
                                     300 South Wacker Drive, Suite 2500
                                     Chicago, Illinois 60606
                                     312.360.0080 / 312.360.9315 (facsimile)
                                     aziegler@gbc.law
                                     jgaudio@gbc.law
                                     jchristensen@gbc.law


                                     Counsel for Plaintiff Studio Peyo S.A.
                                     .




                                        2
